











Opinion issued July 2, 2010
&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;












In The
Court of Appeals
For The
First District of Texas




NO. 01-10-00496-CV




IN RE EDGAR L. HULL, JR., Relator




Original Proceeding on Petition for Writ of Mandamus




MEMORANDUM OPINION 




By petition for writ of mandamus, relator, Edgar L. Hull, Jr., challenges the
trial court’s order granting a motion for new trial.                  
We deny the petition for writ of mandamus.  All pending motions are denied
as moot.
&nbsp;
Per Curiam&nbsp;
&nbsp;
Panel consists of Chief Justice Radack and Justices Bland and Sharp.



